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 7
                               UNITED STATES DISTRICT COURT
 8
                              EASTERN DISTRICT OF CALIFORNIA
 9
10
11   UNITED STATES OF AMERICA,             )               2:10-CR-469-JAM
                                           )
12                        Plaintiff,       )              REQUEST AND
                                            )             ORDER EXONERATING BONDS
13                                         )              AND ORDER
     vs.                                   )              FOR RECONVEYANCE
14                                         )
     LUIS HERNANDEZ,                       )
15                                         )
                          Defendant.       )
16   _____________________________________ )
17         On October 25, 2010, Luis Hernández was released from custody by the Honorable
18   Kimberly J. Mueller on a $150,000.00 unsecured appearance bond to be replaced by a
19   secured bond within two weeks.
20         After obtaining an extension to file the secured bond, on November 22, 2010, the
21   Honorable Gregory G. Hollows granted a requested stipulation that the bond be satisfied by
22   $70,000.00 on real property and $80,000.00 in an unsecured bond (Docket No. 31).
23         On December 13, 2010, an unsecured appearance bond in the amount of $80,000.00
24   (Docket No. 37) was posted on behalf of Luis Hernández, Defendant in Case Number 2:10-
25   CR-0469-JAM.
26         On December 14, 2010, collateral in the form of a Deed of Trust was received and
27   routed to the vault by the Clerk of the Court (Docket No. 38), as follows: Real Property of
28                                               1
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 1   Leticia Jazmin Barker, 23920 McLane Avenue, Corning, California 96021. The Deed of Trust
 2   was recorded on November 23, 2010, by the Tehama County Recorder’s Office under
 3   Document Number 2010013788.
 4         On March 28, 2012, the Honorable John A. Méndez ordered that the Indictment as to
 5   Luis Hernández be dismissed (Docket No. 79).
 6         It is hereby respectfully requested that the appearance bonds be exonerated in the
 7   above-captioned case and that the Clerk of the District Court be directed to reconvey back to
 8   the Trustor the Deed of Trust as to the secured appearance bond described above.
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10                                     Respectfully submitted,
11
12   DATED: 3/28/12                    /s/ Gilbert A. Roque
                                       GILBERT A. ROQUE, Attorney for
13                                     LUIS HERNANDEZ
14
15                                             ORDER
16         IT IS HEREBY ORDERED that the appearance bonds posted on behalf of Luis
17   Hernández be exonerated.
18         IT IS FURTHER ORDERED that the Clerk of the Court reconvey back to the Trustor
19   the real property of Leticia Jazmin Barker, Tehama County Recorder document number
20   2010013788.
21         IT IS SO ORDERED.
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23   DATED: 4/2/2012                          /s/ John A. Mendez
                                              JOHN A. MENDEZ
24                                            UNITED STATES DISTRICT COURT JUDGE
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